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         Exhibit 1
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 ELIZABETH PANZARELLA and                             :
 JOSHUA PANZARELLA, individually and                  :
 on behalf of all others similarly situated,          :
                                                      :
                       Plaintiffs,                    : No. 2:18-cv-03735-PBT
             v.                                       :
                                                      :
 NAVIENT SOLUTIONS, LLC,                              : CLASS ACTION
                                                      :
                       Defendant.                     :

                  DEFENDANT NAVIENT SOLUTIONS LLC’S RESPONSES
                   TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

       Pursuant to Federal Rule of Civil Procedure 33, defendant Navient Solutions, LLC

(“NSL”) hereby responds and objects to the First Set of Interrogatories (the “Interrogatories”)

propounded by plaintiffs Elizabeth Panzarella and Joshua Panzarella (together, “Plaintiffs”) as

follows:

                               PRELIMINARY STATEMENT

       NSL responds to the Interrogatories based upon the investigation conducted in the time

available since service of the Interrogatories. As of the date of these Responses, NSL has had an

insufficient opportunity to review all documents, interview all personnel and otherwise obtain

information that may prove relevant in this case, including, without limitation, through discovery

of Plaintiffs and/or third parties. As a consequence, NSL’s Responses are based upon information

now known to NSL and that NSL believes to be relevant to the subject matter covered by the

Interrogatories. In the future, NSL may discover or acquire additional information, or may discover

documents currently in its possession, bearing upon the Interrogatories and NSL’s Responses

thereto. Without in any way obligating itself to do so, NSL reserves the right: (A) to make

subsequent revisions, supplementation or amendments to these Responses based upon any
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INTERROGATORY NO. 9:

        For each telephone call identified by Defendant in response to the preceding interrogatory,

please state for each call the exact reason why Defendant made said telephone call to the identified

cellular telephone numbers.

RESPONSE TO INTERROGATORY NO. 9:

        NSL objects to this Interrogatory on the grounds that: (i) it is overbroad, unduly

burdensome and harassing; (ii) it seeks information that is not relevant to any party’s claim or

defense in this action; (iii) it seeks discovery that is not proportional to the needs of the action; (iv)

it seeks information in which third parties have a legitimate expectation and/or right of privacy;

and (v) it is compound because Interrogatory No. 8 is compound.



INTERROGATORY NO. 10:

        If you contend that Defendant did not place any calls to Plaintiffs or to telephone numbers

(610) 416-1705 and (484) 886-1692, please identify the entity responsible for initiating the

telephone calls to Plaintiffs or to telephone numbers (610) 416-1705 and (484) 886-1692 during

the Relevant Time Period.

RESPONSE TO INTERROGATORY NO. 10:

        NSL placed calls to the telephone numbers ending in -1705 and 1692.



INTERROGATORY NO. 11:

        If Defendant contends that it called telephone numbers (610) 416-1705 and (484) 886-1692

with the intention to reach someone other than the Plaintiffs, identify the name of the person

Defendant intended to reach, and provide all facts supporting Defendant’s belief that telephone



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RESPONSE TO INTERROGATORY NO. 19:

         NSL objects to this Interrogatory on the grounds that: (i) it seeks inforrnation that is not

relevant to any pafiy's claim or defense in this action; (ii) it is overbroad, unduly burdensome and

harassing; and   (iii) it seeks information in which thild parties have a legitimate expectation and/or

right of privacy,



INTERROGATORY NO. 20:

         If your response to any Request in Plaintiffls First Request for Admissions was anything

other than an unqualified admission, then for each such response: state the number of the Request,

and   (l) state each and every fact that forms the basis for your resporlse   to the Request, and (2)

identify each document that supports and/or forms the basis for your response to the Request.

RESPONSE TO INTERROGATORY NO. 20:

        NSL objects to this Request on the grounds that: (i) it is overbroad, unduly burdensome

and harassing;   (ii) it   seeks information that is protected from disclosure by the attorney-client

privilege andlor the attorney work product doctrine; (iii) it seeks discovery that is not proportional

to the needs of the action; and (iv) it is compound.




DATED: April 5,2019                               GREENBERG TRAURIG, LLP



                                             By            Æ&ffi
                                                  Lisa M. Simonetti

                                                  Attorneys for Defendant
                                                  NAVIENT SOLUTIONS, LLC




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